                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       Case No. 1:06-CR-68-003
                                              )
SHANNON VINSON                                )       EDGAR/CARTER


                             REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 6,

2006. At the hearing, defendant entered a plea of guilty to a lesser included offense contained

within Count One of the Indictment, Conspiracy to Distribute 5 grams or more of cocaine base in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B) and 846. There is no

plea agreement in this case. On the basis of the record made at the hearing, I find that the

defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, that the defendant understands the

nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to a lesser included offense

contained within Count One of the Indictment be accepted, that the Court adjudicate defendant

guilty of the charge of Conspiracy to Distribute 5 grams or more of cocaine base in violation of

Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B) and 846. I further recommend

that defendant be taken into custody pending sentencing in this matter. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.


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Dated: November 6, 2006                     S/ William B. Mitchell Carter
                                            UNITED STATES MAGISTRATE JUDGE



                                    NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than ten days after the plea
hearing. Failure to file objections within ten days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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